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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


DARRELL HOOKER,

                   Plaintiff,

v.                                                  CASE NO. 3:20-CV-12411

STATE OF MICHIGAN,
MICHIGAN SUPREME COURT,

                Defendants.
_______________________________/

                                    JUDGMENT

      In accordance with the October 16, 2020Opinion and Order issued in this case,

      IT IS ORDERED AND ADJUDGED that the Complaint for a Writ of Mandamus is

DISMISSED WITH PREJUDICE. Dated at Port Huron, Michigan, this 16th day of

October, 2020.



                                             DAVID J. WEAVER
                                             CLERK OF THE COURT


                                       BY:   __s/Lisa Wagner
                                             Deputy Clerk
                                             and Case Manager to
                                             Judge Robert H. Cleland
